AO 245B (Rev.Case    2:13-mj-00024-TEM
             12/03)(VAED rev. 2) Sheet 1 - Judgment in aDocument
                                                         Criminal Case   15 Filed 06/13/13 Page 1 of 3 PageID# 30

                                                                                                                    MLtU
                                          UNITED STATES DISTRICT COUR'T                              l*
                                                     Eastern District of Virginia                                 JUN 1 3 2013
                                                                Norfolk Division
                                                                                                           CA ^ > \ <: S P'ST'r^iCT GOu'RT
UNITED STATES OF AMERICA
                    v.                                                          Case Number:             2:13mj24
DAVID G. YOUNG
a/k/a
Defendant.


                                           JUDGMENT IN A CRIMINAL CASE

      The defendant pleaded guilty to Count two.
      Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.


Title and Section                     Nature of Offense                                    Offense Class            Offense Ended            Count

T. 18 USC Sections 7 & 13,            Operating a Motor Vehicle After License Forfeiture   Misdemeanor              12/23/2012               Two
assimilating VA Code, Section 18.2-
272




   On motion of the United States, the Court has dismissed the remaining counts in the information (Count one) as to
defendant David G. Young.

      As pronounced on June 13th, 2013, the defendant is sentenced as provided in pages 2 through 4 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

      Signed this 13th day of June, 2013.



                                                                               (^&tfa
                                                                              Tommy E. Miller
                                                                              United States Magistrate Judge
AO 245B (Rev.Case      2:13-mj-00024-TEM
              12/03)(VAED   rev. 2) Judgment in a CriminalDocument
                                                          Case       15 Filed 06/13/13 Page 2 of 3 PageID# 31     Page 2 of 3
         Sheet 2 - Imprisonment

Case Number:                2:13mj24
Defendant's Name:           Young, David G.


                                                          IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Marshals to be imprisoned for a
term of ONE DAY, TO BE RELEASED AT 5:00 PM THIS AFTERNOON, JUNE 13, 2013. The defendant is remanded
to the custody of the United States Marshals.




                                                                     RETURN
I have executed this judgment as follows:

Defendant delivered on                                                  to
at                                                                    , with a certified copy of this Judgment.




                                                                     UNITED STATES MARSHAL



                                                    By
                                                                     DEPUTY UNITED STATES MARSHAL
AO 245B (Rev.Case    2:13-mj-00024-TEM
             12/03)(VAED rev. 2) Judgment in a CriminalDocument
                                                       Case       15 Filed 06/13/13 Page 3 of 3 PageID# 32     Page3 of 3
        Sheet 5 - Criminal Monetary Penalties

Case Number:                 2:13mj24
Defendant's Name:            Young, David G.



                                            CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the Schedule of Payments.


                                      Count                 Assessment                Fine           Restitution
                                       Two                         $25.00          $250.00                $0.00

                                                                    $0.00            $0.00                $0.00

TOTALS:                                                           $25.00           $250.00                $0.00



                                                         FINES
The defendant shall pay a fine of $250.00 as to count two.
